                                                                                                                               \o' oo {     o\       ta



                                                                                                   v)fr                          s3P*      3 0G I P > ?l
                                                                                                   o>
                                                                                                   1>                            vtrtt58   g55i5qg
                EEEEEeF:                                                                           xrD
                XHZEEHae                                                                                                         f; F BE E s sF t 3
                EsnjipIS                                                                           [:rJ   \'/                    lji(/)UFp @iASFiP
                                     I                                                             ia
                                                                                                   5o                                                 ^
                                                                                                                                                 E"H E-i 5'r
                                                                                                   OO     Fl                                       ooAVw<
                    8 ft ry 5€                                                                     oo                            ZSHF            b
                                                                                                                                                                      {w
                z')v  J) i z c i(                                                                  (t) ci
                                                                                                       t^
                                                                                                                                 )'o o 5'        9 r r     ib
                                                                                                                                                           =7 A       a
                                                                                                                                                                      l?|
                ==
                gPHeEHgF       =                                                                                o                                ',5 Aa
                                                                                                                                                     ts<   s?    :-
                                                                     ru
                                                                                                   <U
                                                                                                   FJ     TTJ
                                                                                                                                                 :x 9.3;^ ?=
                                                                                                   F1 :E
                                                                                                                         z         Fg*           g
                424 E 8"a <                                          !D                                                  r.l
                    i                                                                              -j ''
                                                                                                                zrttal                                -g g F' Q
                                                                                                                                                  nDqr-t
     U
     (D                                                              d                                          F        FJ                                OtJ        4
     +
     (D'
                                                                                                   -)-                                           vZ
                                                                                                                                                  =
                "=:BeZE=9                                            *a'                                        F        V)                                oN)        9
     o-           Hgsg e"H                                                                                               -l                                           oo
                                     !D
                                                                                                   6Ft-         U
     F]             Cn -   -'P                                                                                                                                        \o
     a              -EIz1 +1                                                                                    0        rl                                           {
                                                                                                                                                                      oo
                    - _l*                                                                                       r.l      tat
                                                                                                                F        o
                                          vv          vv      v   v        vv    v   v   v   vvv                o        U
sv         vV       V vv       vvv   v                                                                          Fl       (a
                v
                                                                                                                o        -J
                                                                                                          o     4t       F
                                               IU                                                         F)
                                                                                                          U)
                                               lllt                             arzS                      o     o        o
                                               t<          s3:
                                                           "osP                 FUCZ                      z              -i
                                               t>                                                         o     -        o
                                               lz              F=-
                                                            3 (tcl              EEEF                            4t       o
                                               IU           rr     5             L:Fii                          o
                                               la                                    <z                         F        F
                                                                                                                         rl
                                               lo
                                                            9ea;i4t
                                                           tsr
                                                                                 IEtni                          z
                                               IF              N(D


                                               la-
                                                              s3                 ZB
                                               IF             -D                 OF
                                               t<             ?-                 F
                                               I'l            o
                                               IF
                                               l-
                                               t>
                                               ll-
                                                                                                                                                                            Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 1 of 22 Page ID #:1
                                                               {O\ta


     cn
     +: .'              d         u B.E
     d-t3g                                    EBf g I    -"            FE
                  gs   $          F Ff
                                  FFE           s i
      F.r=o5.H.,i.,,:gO'N)o,.t,
     I*3E €
      @ v         v {
                                   A
                                              h*rFi
                                              =
                                              g       -6 5    06
                                                                       ia':       -u
         'ug                           a
                                       g          E
         q     |        $ P        P        r'J
                                            :. * ? o 9'                =
                                                                       3
                                                                       Y'         $
                                                     =:-                    qfi   3
         3
         +o.5=u)d<o 3
                               3[             1 H; f 3
         a 3        A iq       F'<
         =FDi'o'+aE-t5?.=rdH?.9
                    A 3              H                9
         "-
         ;   t
             F      3 +        $
                               t   Z
                                   A;              7,;
                                                        8" g e
                                                        ?     s     *'g
                                                                 l= e             B
          ?d                       BEE             =       =        ,4            V
          +FpErc0':Eq =            g HE            r3"aiXlE
                                                   n  o u, e. llg   S             H
         iszF $I
         +-lv)-lli*>
                  FZ.s             g.!i            sFEEfl-          Sd
N)      r7        ;";l{                           xg-t:$13          eg
        Hs        n
         dts{=rlrlr't
                     6 rE          ;a sE a
                                         d                          gE
                                   5 -i-i         ;H; tFsB * g[17l= F3
         o6
        +*o ii t$                  F5€            E                 iE
        E   1     F  e             u ?
                                     =            t 1;F
                                                      4 a'r; 3ls v  o'>
        =.dgFDd.tsFa-5
        E         Ei               51F                                      g     g
        ii.=
        HZ                         F l3
                                                  xg i'':- i$Ea E
                                                     fi I                         g
            a u6,r   s                            g
        ;!t       g"a              :idX1g         51;' i B ?i n    E        B
                                                  A=
                                                   F:tie'     3             e;
         =:=p+.+Stri
         g€                        Fq i
         a-"i-;:fgq$ic=;
         Bs
         o=
            ":i                    xHa            s d;Fa                    i6
                                                                                       Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 2 of 22 Page ID #:2




         .a gs
         a)=.lFe+'-:aFgFEp)Z
           ?                       g ra           ? sF3 rg                  $I
         E Fo           Se         v €e           Si + i                    =^    6
                                                           \o' oo {   c\   rh


                            :   ..       . . ..'.   :                             I   '.


      if              LH.?B          8 s Be             I ry   ary              S,g
      $g*+rgsFg5                    gE
                                     g
                                                                                      e
      3,iie
      a -= H i a'E
      t=iid
                            $a  Ee
               + F E F A "i 6 E f E P
      -lgg1g$+gliig:lr:g;
              po5
              :*sFeHs*u
              a Fdq 0.33 g5i igI+gE[                                              B+
              $s.
              F rB 5 eH +g $ 3 s * v 3 E E                                 I      E
                             il       3:    $  E                                  -s ei
())
              = = ig $
              g    H 1F;   a s  FF€
                                ? E g s 6 e
                                          =      !
                                            E" z e                                T        ?,
              Esreg";i3";g3XA
              A='3
              6-6E       q        a
                                            qAa    t=
              dFe      E   e +  s   3   3 ii F $ E
              5o(tt
              +F*d+sgig             f =
                                      '*F*EF
                                          =        i <
              FoF!O
              =
              d    = o i a B            F i s
                                            F  ; E g I
              od,E
                   q=s FaEVas
                             $ il $ $ 1 Z R Z $                                            Q
              *t?**3sP$F  gE
              *;ryiiu,e.B$X;dc,s'o
                             *E :;
              o-55
              .;di?.EI$F€
              6'^A'+SSE    tg Eg                                                  fr;
                                                                                                Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 3 of 22 Page ID #:3




              AFr5SHF=el=A=
              $gafifit;s:;
              ;=E**erfl1$  F  g                                                   qg
                                                                                  [5
              E;d                                        f ;
    H$HUNSNXts                     H
                              !o e f, A G f   il il         \o.oo   {                 (.J
                                                      = A                   o\ L^ a         M



      FFDS
      F[$ q 5 5 i g 5                         e; f s ;e ss                        x
      (a@sXacpoohSS:o-<
      F  B:
      6- o.
                     g: I s s q
                     = e' i q s-                     E
                                             si: ]EE "+ *;
                                                                                  b
                                                                                  I
      ii+Ha30'io5-g1€-6=8-
            =
      odFR6aFo
      o r, 6 !, H',=., o-       g \,
      tr;'
      5=o     =        gf    i       + f 5 A' -S*P6
                                              =   Aa =                            f   p
                    a
                    l3    fi *r
                             T  F i  ?35;              r                          c   e
      ;# st€ a T  s 3 F E e a e *35I3&; =,    e":+ is ia                          d:
                                                                                  r5        r
      l-
              =
                  i
                  t^+
                        l l            f s
                                       E   q
                                       E + +.+
                                           i= E  xg A
                                                    =A
                                                  o o
                                                      i
                                                      o                           $
                                                                                  o E
                                                                                    N)l-    |fr
                          x5 eB   +    -6
      *gg? Aa -- G$ t 5 Fs
           ; F=gH
      ooaPu,,RtAt<                = Fo d
      3:
      F   6;
      g6;5;
             A IE:f@;         i =
                              F=E                                                           F
                      r    5:E  e<
                                        F      ;B.€< a F e 3 A'e'ts
      €    *  d'+
      :gXqo:-.cjXO*:3.tr./>      H a                       -
5          o o oi "tr 3€
       xR;xprix='d;rq'E!:                      = 6' 5 A
                                                      YaaP                   Te       1E
      ."3; D  gq     i     3 g H'q i
                                   q           P.
                                               w  A:                    lh
      _=o5        -: eo;1?       +                =E              S  B  l=
                                                        $:3{,9+ [ ig
      E =:r3i
      E fr        6              S Q              F  ii
                                                  ":"8  o. a€:    H  11"-
                        F
                        = B    E s:
                          =.=? E               6=       +
                                                        = 5 E i 8 6 t-
      F!'l        ?€,
          sZ€1I ; ?a
     €xq-i_:=FI?Ff                          31*t f I e*
                                        i igisF                                             la
      5O-=i
      d a 5 =' E E' o :. e F                   3 ?    i
                                                 Ff iIlF                o !t 3i f           lV
                                                    g:                                       -\
      s s: g e+tt  at    Fg3     ?            €
                                              gT 3= E                   E aH8
                                                                        311H
      FiSe
      o^=(D
      Fe'o -. g F;E F;6                       3'5 ? 3 3.                i F!          3
      i'lx
      i a; H e,;1€     i a       i            *;:                       3 fl 3 F
                                                                                                  Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 4 of 22 Page ID #:4




     Hqs)o6.3{Or='
          sE!
      i;5rg.?DFD.+'S.:.5FE$";iE=
                            =€   e            3 $ i I=                  i =s$
      ;JdP                                       i,
      s a Fa a s FF
      AF=:t='5=oqq
         6.<a5qF<
                              E                3          i_H           :    <
                                                                                \O'Oo   {    O\     r^



     Pq{rJ                                A)+5FD>
     :+=git                               oa9'=6.5+H.:xoa
                                          s)-E-
     a<                                   ='o53t^,+'EO+H
                                          AP6'='IE6a-5:<lS
     =-t=-)
     6(Du)                                ==i!'A'>
     o??d                                 F E"
                                          ,6      F       F*$?: E E                         E
                                                                                            trt i
     oI]
     lH              18?F                     F                    E                                      €3 3r
              +i5O+l                                            H
     E:9      PgE'                        a'\H-P'i--.E"ffg
                                          $       *   I      €    F*                    F t F;E
                        f Bv
                    u)+<'                 d
                                     $.GFFg                                               3t3<
                q"" 8d:i"."-?9E.8€=                                                                          3
                    =sLX.X$r=doe5F,l
     s4* s*g g 8.*
      g     E F
         +i aad                           Ba$;                                    g. g
     0'obg€at                                                          E                                     E
     E"afg<                               EqgAe-j-r:+d;Bu'
                                                !e r                                              S      +5
                                                                                                  * q=;
         ,60ein
                                          6 "*1
                                          H  B.E                       IF   E
                                                                            =;$..
                                                                            A B   g P
     2   &E        3   I                  ";A'$.3 B                    e    sB.H
                                                                            g
                                                                                  Z  E
                                                                                     A            T  2
     ?,5
     ;{;
                   gti
               H = 8 rq H;8-
                           E.E 6=    5
                                                                       S
                                                                       i.     3;;
                                                                            F E TF
                                                                                                  i tS **qa?[{
                                                                                                             g
         ='(t):tO€       EF=.ig<                                                                  F'-.'
                                                                                                  =
LA
         6o@o-o
              +3E
              B6dL'i+
                                ag        r<                                                                 g
              AE 5'A                 s          liiFF
                 B
              FrXoqrJ
              **     €               a    el-=.-F6R5'€E"A
                                          idgE          Eg
              +€tsd8                      rri(/r;r
                                             A
                                          3 e f #a;
                                             p-       # [;         E                                         F
              IBA'FE'                                              il;                            F g        $
           €  L{Ftarrl
                    q o-        ?€         F g ,r ; €T
                                                 r€     -a;     *  s   s                                     E
                     (D'q='o               ;sF+         E   2   6'? {                                        ?
                                                                                                  t3gF
              Pd<
              SEsi'd
                                          E.B1H.?q:s'g.dFo
                                          5'=.a;g.gi$HpEE
                                     it
            ='ttaRFo()
           'o                   H    5-
                                          *?'?-:
                                           'E   3E  5   S   f   E
                                                        R'o-Frro<u
                                                                       .r                         ,F g       r
              *;    € i              3                          3      d V          €             *1         +
              ogqoa                                  ciEiE6=eR
                                                     tsa;-.6o-gF.;t{
              o-sj<
              ooa-|'                                 $?<
                                     3
                                                                                                                  Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 5 of 22 Page ID #:5




              H'€
              6.o0<u
                     E
                     JJ

                           >n
                                                         g    ?E
                                                     L:fFoFr6\t-(<a)
                                                     s
                                                     q9B5o=-<                           +         H fl       n
              o-     \o
                      l-                             ea$d.at;g
              iJ:i
              OS(D                                   a€Er<
                                                {C\LhA


 O11   tt?gr-ao..'stooDs)+
 o)-:5=6-g9SFE+=g-
 s;i     Rtqt   sE                                     €
 a 1$    F =
        r+(D
             FF
 A R * N; iF:;  T s
                o .'         N,
                                               sF*;
                                                  il
                                                ts A a       f;
                                                             B

 gB
 Hg$rh"B"isF                      3F              =
                                                Vgj.NgF
 [Fs$gi?i;
 =
 =.F<         E,E *
                    a$
                    5   a
                      * $
                          fl$f
                          g    s3#E
                                 a Y'R
 R e s. F - a
 -l.u3$Fsooawiro'           t ek
 a$EFF[3*s
 Feo
               + -r'R
                 q'
                      f;*siE$$$?H
                      g  €  E d  A   ? 5 ! E" i5                  i
                                                                  E
                                     o                   <
 s5',r= r IH o
             * F
        E           3 u, !D r s. I'i   B E ;
 "*il;$ gsFn.
 =..'-r=F'uoaso
 5 a d :+ s 3 a isixE     lPFs€=3                                 f
                                                                  q
                   E fr'g l5"L H g $ 3
 gF?=riL;{gb'>
'E*$[ iE*$ i€'FE${g1B
                                                                  5
 *1FF
 ;:     iF$i  ;sEilEF E1s  I
 o-     :f
    sEi
 ? d:
 a*EF   sae$
        g; qg gi$alE+ f 3€        "3 $6   r   s i s+              E
                                                                  q

 +F€g           g.+€;
 #B€E]:-pE-n\ooqgo{E    ag  1 3 *#s    s
 F n E ?, ifi i I x i x g [: € *                                  $
 q:'eLAdF*H,:s5-E6'".
 *:5$           s3$g    ;$    a                                   $
                                                                  s'?
                                                                        Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 6 of 22 Page ID #:6




 F 3 g f        : { g F a A     'i$
                                1:. e-                            e
 nH5
 AFf e    A s€"33
                1n i i  r<
                        3g      sFH.
     H$H8N8                                                     \O'                    (,
                                                                      AO \t       O\        A         tJ    tJ
                                                                                                .*t




              i€          5E        S       * g,a q s.= P E q P a                                            s

              e' + a tr'
              iasl e g3rsqsiHElFg   p       F. = E E c' =. j                  ;        S f            o'r
              :o-co6\FN)=g6-,
              =.(D
              e6-6<
                g g      g                                         E  +
                      t
                i g 5 g    hb  r  il a  F  F  E  ;3i
                         +; F e-6 5 Fr A F 2= q€ H F s F     r   E
               o) o, l!D   E
                           X F <. ?
                             ; 3  +' .? =                                                                    3
                                                                                                             g
               fE "3                 g'rp sg d3 so G.oi $r: b7, gF + *
                  + H I3:      f T;        X ri.o        Fo =.. =.8=.

                                                       i
              qg'+ifr a
                     g [ ? a tr d;5          b;
                                [* Ft[$i3 FIi i*d  q q;
                                                   a F          E F: 3t-
              = r * G a 3 H;;
\t
              FEqgfgI$:fiF+F€i+Fg3g
              Tdsq;X35s;;=rxF+q5?
              s a -o a 9' Y 5- *
                      )                       v    3   L    5   H -           u        6    =
                                                                                                      F'     g
              ;€  q $€ F 1€ F F+t i 3 i Fs I
              aE Ee fi E $ B X A rF a 3 [ F ?                                                               a
              sF.E:B
              i +i F + Ee.3;i*i*gils+e
                        [ 7; d 19 e 3;il + = +                                                              s



                                F       r              -E                                                   c'
                   ro o;q
               55u)":3frfRBB'=.EagoA          A;                A g f                  H F 5
              Es*F$ r I$fsE.1[i}$$
                 o-q5'
                 i':6Fn..fsp!fr*geg3
                 E'e=*o?E-pgHE;Eq
                 c(rr:
                 F     E a E
                 gEg€:r=';       I   1 S g;                     B.q           s o H o                       B'
                                                                                                                 Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 7 of 22 Page ID #:7




                     -""r
                   )5".8i
                   -tO
                   (DOa                 H                  i;fg$
                 EFa            g       = €r3E      $g*f
                                          e[i 3 is igg
                                        3 ; f L a s E 3 i's a                                               F
                                                                      \O   ' 0o {    O\   r,rr




     g)     Fi
     r(D
     aa
     o)a                            F00<D5$gl.
     6B                             3  a 1$? $f
                                             ge
     88.
     A)
     ibss
                                    =* 6 3Fi
                             (rN)J'I-gE;N)FgbJ
                                      o
     ^fo
     9A)H               r.ol.rrTJFTJFt\o(
     H)     '-r         I;io'ev9'l-€HFaPBeo
     s#H
     l-
     c)at
            Ft     Sl
                        x.I
                        18 Bfi 3
                                    og.la
     5Eo)                                        HHi$g
     0())
     +(D
                                                 qFsAA agga
                                                       ;t$Y
     pN)*               V
     A&9
                             HeF$ld
     iq2d               lEFr sl= EFgsg s[+1
            -.D    €
            P€
            E!o
            (t)
            -
            +Ft
            Bg
                   J
oo
            :oq
            ()
            s+
            t$5
                   d
                        rE
                         cE s E s
                        IEEgEIEg-$FgiF;rIi
                                  E                              -d                              F
            x(D
                                    ; * *
            5s)
                   J
            6'+ )
            L_,1
            a=.                g
            gq
            {o)
            i-.
            )4
            od
            Oo
            o='
                             fx * E IEg FggilIg
            o.     c)
            (Dg.
            u)9
            gd
                                        rF$ ;$FH
                                         =*
                                 *I ";g €3=^ 2 q5+
            +                                    agq$-@Eo
            5'E
            5/                                   S3F.'!o.'='     j 5
            (^R *
                                                 s      6                           6 f s
                                                                                                     Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 8 of 22 Page ID #:8




            (r)
                   o)                            i              lH s                nE
            d5
            ,b     o-                            =.6r^a?o
            tF     a
                                                 d'         :88
                                                  11cto-.f,Fr
                                                 .iOo@5<
                                                                                    T;
                                                                        \O'Oo         \f          6         tn       A   'w:N:H
                                                                                                                          s1




                                U                                               U
                                -l                                              -J
                                ln                                              rfJ
                                p                                               vLr
                                tr                                                          o
                                (D                                              (D
                                                                                            o         )J         !t             !^
                                                                                            o
                                                                                N           a)
                                                                                                      ?J         El      IE     E
                                                                                                                                o
                                XP
                                eL.     N                                       o\                    o          o
                                                                                                                 r-t     lo     r-t
                                                                                                      n
                                                                                                      at)        C)      IF     s)
                                trt                                             tJ          U)
                                9                                               o           +                    o
                                                                                N)                    ()         V)      l>      -o
                                                                                                                                Fi
                                SF                                              tJ          E
                                                                                            J
                                                                                                                 +
                                                                                                                 (t)     IF
                                        I                                                   o-        o                  IF     (D
                                                                                                                 o
                                                                                                                 >n            .{
                     ED                 E
                                        (D                     EU
                                                                                           'dFt
                                                                                                      o          U)
                                                                                                                         lo     U)
                          jtj                                                                o        F!                 IF
                                        d                                                                                       *(D'
     q)        EJ                       <          Q\\1                    €f              'o
                                                                                            (D        FD         +       t>     (D
                          si                                                                Ft                           lrr    U)
     -J   hD
                                                   -l 6i iU                                                      !D
     ln=. F           I   H{ fr               l9   tr                      8?                                            t<
     L+                   t-ra          5     l>   L+'7             t                                 n          o-      la
     L+        z                                     ='F                                              Ft
     >#        X                                                           F9                                            la
                                              l2
                                              lt
                                                   iF^                                                (D                 lo
                                                                                                      Ft
                          nE i                                                  E
     aN F                       o .Fo l\J          AFP                          o                     Ft                 IF
     o>                         rd ?' lE                                                              (D
     -)?                                                                        rn
                                                                                (n                                       ln
\o                              QSlO               3P<                                                (D                 l14
                                ollF
                                HFII.
                                                   QFg                          o                     t                  IF
                                              l3   l) t-, (n                    rJ                    F)                 l-
               FJ                                   UtsTN                                             v)                 It{
        \'/                     4'1 eL E                                        trJ
     t!
     1a     F                                       U1 W'F                                                               IE
                                                    4 a"                        F                     (D
     rro                        'd.oI7E
                                LEI<               .j:' o>
     OO   Fi          I         491-r              OO-l*                        z                     o
            o
     oo -( G>.t                                    Oo^(O                                              o
     U) t^                      '^El'!             ?)^:J                        X                     t
                                                                                                      Ft
               (D
     {U
     FJ FI
                                F*lt5l-               U.E
                                                   {EIEl*       t
     r4   :E   o'
               >.t                                 Fl IE 9'
                                        F
     ;-                                 P
     z
     o                                  a
                                                   Lz
                                        3          o
                                        (,)
                                        @
                                                                                                                                       Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 9 of 22 Page ID #:9
      Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 10 of 22 Page ID #:10




                                       X
                                      FJ



                                                Eg
                                                 tst
                                                     Fl
                                       H
                                           rl
t\,
o\
h)
 oo
                                                  lrt)                                    Fl H-C                    n                                   A-(\7
                                P93               Ita!
                                                                                          cD:L>a    :l   'JD
                                                                                                         hjd:/          (D                                -N:-'.                         U
                                xro    E    V)
                                                          ?aBgh                                                         FD
                                                                                                                                          *uF           ^E      J.l r-r                  t!
                                -N. \!            t<                                                                    r-t               9<-niJ        !+L.l-*                          F    @
    S(/)N
    vvv                   v     .{6                       +sE.Eq                                                                          '-.>7         ;r -^o.<                              {
    r=-.-g
     =-)=oo=
                                vOb S
                                -(D
                                E
                                            -
                                                  l3
                                                  lo      3 a H Id ssggIr
                                                          s5 FS *'
                                                                                                                    i   ?           F
                                                                                                                                    t!
                                                                                                                                           b'>e
                                                                                                                                          S.  i' rrr
                                                                                                                                                        trE',;A                          N
                                                                                                                                                                                         F
                                                                                                                                                                                         fd
                                                                                                                                                                                              b.)
                                                                                                                                                                                              b.)
                                                                                                                                                                                                        c       z'tft
                                                                                                                                                                                                                a
    8F: F#     R d:                    53         ls      s.6   3.= {     ss3H            c                                               H{3           <FP A                                 t.)
        [-ro !+                                                                                                                                         g                                tg
     w      ^-Jr-<
     -O -r ()  ov               lFr               lo
                                                  IE
                                                          5>-r<r='
                                                                                                               r:       !t
                                                                                                                        Fl
                                                                                                                                          .i-oc
                                                                                                                                          ^o     o      B
                                                                                                                                                          >s6'                           r-                    O
                                dFoo              I+                                                                                      !-l
                                                                                                                                          p(roo- a     J'
     E q9,AQ'                                                                                                           a                                       s=.ln<                                          F,
    J5'dll9                                       lo
                                                  l5
                                                         H€
                                                          s.ro$E--
                                                                 lT E ig r H * *5                                       to    o>                        p>Fs                             .\
    -'F-^1.                       8"R
                                5=rs.             lrt                  O-A=  5 $ X d                                    J-    co          ab'             YT                             ?1
    = ai a ag                                             5 RR'.r3     zo *€ 6.E F 3                                          rD          =d            =<                               5                      =
    iq8                         3e   H                   or i'5 I e.
                                                         *ts.v1                     J                                   5     F{ =.       6'6           d,g
                                                                                                                                                        4-
                                                                                                                                                            FH.                          \
     [Do: HYqS
          i' >                  !.5o                                                (D                                           E.                                                                            a
    HF               )z                     +            E I zE        Efi                                              w     4vt                       i.<u               U                                   fi
                                                                                                                                                                                         F<
    >c--i                       '+Al
                                Er5         (D'          E 6 e;g
                                                                            <59:                                        o
                                                                                                                        +                                                  o
    ,>lJ
                                                                                                                                          :\)
                          =
                                                                       X;6'5;rg.e =                                     o     ;d                                                         b                     o
                                            (D                                                                                                          9E
                     +          -SD
                                7='o-                                                                                   o     (D<l        s             \V                               Fu
                                                                                                                        o.
                                                                                                                        (D                              (JJ                              F
    oH
    =-9 E :                                 so
                                                                gE g }tF€ Egs
    rztp  o
                                l6                       rq +d.Ltt^.
                                                                "
                                                                     b * o -0q x :-                                           (DA                       (r.)               O             rd
    (D g.^                -U                                                                                                  =d                                                         a
                                p r5                      =':3                   ia                                     R"
    I 9'6d g
    -.OH
                                                         e p18 a 13S8x                                                  ?     OB                                                         x
                                                                  d+^J 9EE-*;FS                                               D='
                                                                                                                                                                                         o
    s:?                   3.    3aH-                                                                                    :1    e=                                           -             3
                          o                                                                                                   (!t                                          o             o
    (
    -az       (11=        J                                  3 ri3 fi idaE:5                                            {                                                  3
    '* ? ()               _.    e';                          eB98- 6 +' rtSFP                                           cD                                                 (D
                                1;.q)                             (, u)        S)                                                                                                        \
                                                                                                                              aZy
                          5                 =.                                            Hq*r-Zog.5
                                                                                                \r                      (n    tlj
    -sEn
    .-s.\j                                                                                ^r J     E     *     :,   J   (D
F                               lr0a        aj                    a8:E                    !fr}Or/<r!l'                        15x                                                        F
    Ho5                   S.    19 4        !1.                                                     -S                  :l
                          g     dH.<                              +E'i +                                       Es             rO
    6rz9                                                          oos?h,                  5ca                                 eur                                                l{     tJ
    Y.D O                 DC    -r9d                                                                                          \o-                                                tn}, t'
              ^t+               (rJ !o      S0                    J **^                                                                                                          t='l].
              +-                uJ  g'.  €                                                                                    OP
                                                                                                                              b,J   r5                                           ,:;=
              o(r5              ^      C)'6                                                                                                                                      15 ls
                                            g                     F+g.?   I               t;+rE?+                                   (?                                           l-     l-
              HN)         y.    +a                                >='9 H
                                                                  Fi.-^                                                                                         .?J        T.r   l<IR
              {:t'                                                                                                                                     i-             l-
                                                                   9A3-.                                                                               ^\^r-                     L?R
              ;.O                                                 l'D *t CD -.i-
                                                                                          aago s 3eF3
              oo          (rl   E +g                                                      -Jir      -+(D
                                                                                                                                    *r!                ; A= g                    ls- lS'
              '-z               +cr='                                          (,
                                                                                                                                    !9
                                                                  S)      F.
              \o>                                                 =*.p5
                                                                  5 <JD >
                                                                                          fgerB'aE'                                                                              lb ls
              v                 3H6                                                                                                                    Fis;
             v            \l
                                " >o                                        gf€E*sg                                                 oo                 Ycn   o                   l: lF
                                       r>5                        3$*E                                                                                 rD 5(D -t
                                                                                                                                                               al
              H(n                      3o                         o-x' o =                                                          tD                 JD      co
                                                                                                                                                                                 HE
              X(D
              *c)                                                 Q ii -ir>                                                         {D                    ='7)                   ti     t<
                                       Fd                                                                                           o                  pSiE                      l-     lU,
                          f.                                      (r) .s;                                                                                                                               €,/N
                          o                                                                                                                                                      lO lc              =
                                                                                                                                                                                                    9 l: a'!
                                       -o                         rn==.ts                                                                              t:F)=          9D
                                                                                                                                                                                 la l^
                                                                            seEig; f
                                       Xa                                                                                                                                        ls   l=            i;€3
                          oo                                      s5fr +                                                                                                         l-gr IFI
                                       ;>                         KO^ o                       :FFgr,F                                                  3 T+                      lrr "'
                          5            o0a                                                                                                             6'q                                                     a
                          I            cg                         o€ * B-                                                                              ,^ o- >                   lr.                =?g
                                       Ou)                        'J(JJ
                                                                  .JAJ
                                                                                                                                                                                 l-
                                                                                                                                                                                 tC)                 ? ON
                          {             :1  fr                                                s5*fiFi                                                                            lc                    >=
                          I            t<  t'.)
                                                                  :ir)
                                                                  a,(, x            )=.       tf H'--    9J-   H o                                     5"e #                     l-
                                        :UJ                                                                                                             Ar-'b                                       ^= }l;'
                          Ed                                      q.€               ?'                                                                                o                                    a_d
                          v                                       !a+4                                 q3                                              -ir                       lo                        ae
                                                                                                                                                                                                               -='
                                                                                                                                                                                                                        Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 11 of 22 Page ID #:11




                                       8L
                                       a? c)                       lJo
                                                                  a:+-F.
                                                                                              #s
                                                                                              i,) $
                                                                                                    s?
                          J
                                                                               o =
                                                                                                    =o-=.- !i                                                   IJ               l=
                          o'           g.F                        g&a5                        FO O-
                                                                                                 ;J Y  o-)/ rr
                                                                                                    =ir.c:                                                      N)
                                        F\         EA'QfF                         IE    R>                                   F                J                          :g           gL
                                        \Q'                                             9.u       83
                                                                                                  V
                                                                                                        S!      H'(9         .l    .9F IL CA<
                                                                                                                                          FgH
                                        A. r;      $5.8-6                                                                                                                56
                                                   hHF.-n                         ls              'o"o>                                                                  '^o          cr
                                                                                                                                                                                      E+5
                                                   rv9ApE
                                        Sta                                       I=    =(D
                                                                                        :J'd                    o iL         o     gI                     S
                                                                                                                                                          *r i.e-                        o
                                                   n@ 5 o c                             rao       ^!                                                         o i-j'
                                        SFI                                                                                        ir 3 l=       l.-.a'
                                                                                                                                                                         xo-=a
                                                   .+.8zlE                                        Hq*=                             o' E' l9               F'A5           .R9   x
                                        GR
                                        r.. )                  o(D
                                                   ) g g't = E +e                                 zd CD l.                                                               tDr x 5
                                                                                                                                                                         \?/         ::-   ;J
                                        A\                                                        =-=c,?                     !.t                 lR                       .P1H.=
                                                                                                                                                                         .vH.(9H
                                                       r+r l.J 5 x
                                                       =.OFD                      IF    6'g-                           S'          O-            l<          U)/               ,\ts.
                                        so                                                        Fr8
                                                                                                  {r+
                                                                                                                                   iani                      (D<
    lro        o   FDOO   S:r/    lo    \-a            --oA) Y
                                                       go5                              ?d                                         ;'t.          l(D         o-                sg3
                                  IH                                        at    H.    5(D                                                                  'v) !D            ;-.r|.l
                                        FS:            X (,l-t'oo                 la    tto       Kgi.'                      tr    85  IP                    d-                'O-3.
                                  t<                   dF03                             So +)
    q*3=FsE                                                                       ls              3$Fq                             a<e           13                            o-o <
                                  t<    SF             C -1 tr 41                 I.D             O                    iri
                                  l.)                  ATE      9                 l.D   Fo$
                                                                                        )CD       FVI;
                                                                                                       -r                    o           B                   <l                9€'
                                        ss'            (D (e o-F)                 lo,                   -(!l.                                                .s.                 :r€
    Fp-U tr" o-9 la                                                                                                                .r!bj
                                  l.D
                                        s :':          r Do                 X     l5'   B.e                   5
                                                                                                  .-at i+fdcr 9                    el    I=                  <*                o CD;
                                                                                                                                                                               <
    37= H e€ g lo                                                                                                                  Q- s' lF
                                                       oif, 5               i.6   l=              F$8                  e           3 i'D ID                  o- 5'             grE
                                        s=                  'Vl^                                  .A+,                             o$lFt
    €49ee33                       l5                                                    xCD                                        6       Ft    lE.         ?=                d
                                  l5    s$            E sd 4                            (h i^     ? ; ?'o-                         A)El-                     '-t (D            ^FJ
    a g?='€ &+
    upi.e{                        l-                                                    *it                                  tt    bfi           Pt          x:t               E<s
    :tO-+O^*O                                 U                                                                              rt
                                                                                                  5*o p<H
                                                                                                  6    H.                          ?_lq)                                       vUH.
                                                                                                                                                                               ^
                                              a
                                                       i53.*                            3-        \i:J                 0D    tr                              :r    s)          +<H    ='r+
    s.                            ls          t:       9 sH 2                                      .;.+^ C)
                                                                                                  v6      vt Y                     :<s                       a--               +goq
       ='9 : + FS                 IO          s                                         5E             +r                            v) ln       lE                5           (DA
                                  l-t                                                   C)                                   tD
                                                                                                                                                 li-
                                  IO                   =.4L6-
                                                       Y=<9                                            FRA
                                                                                                         +vl                                     18
                                                                                                                                                             >oa               @3          *
    t*sE:eg                                  0d                                         ='d co           H.XU                      98
                                              s        e o x'x                          a\i              <=5                       92            lo         0q                 tfl^
                                  @                                                                      (D ti)        g,          > :l          I'ii        tr=i              ?+- o
                                              n                                                                                                              qO =.
                                                       il a s":                         F(D              PP-                 o     <H            kc          'CD
                                                                                        St (n
                                                                                                        -oo;                 p
                                                                                                                                                 ls.         (,E               ?+E
                                                                                                                                                                               '^ (D -'l
N   sQFg(D-Fo                                          s. d'g r                                         'o
                                                                                                         (DXo. +i
                                                                                                                                   o  5'
             o-i a                                                                                                                 .^ o-         lo.         uvQ
     3€$:ai s3g
     o-e                  b)-J"
                                             .o        E.'?O                                                                       ff='                      N)e
                                                                                                                                                                               c, aE"-
    ;Q * =
         b I                                 \         o- 6 9''}'                                        -P.+ .a                   g: 19                     AL
                                                                                                                                                                               5 rft
                                                       ,^44                                                                             t;                                     cH-+ ?c
                                                                                        a-
                                                                                        =t)              b 5cn                     5'=  l(!                  le{
     igq;eRn"                                 3       -=55 o oe                                          A:OF
                                                                                                                                                                   ra           ^:7=i
                                                      oc
                                                      ='eo cnl                                          EES                  q                                                 fA8
                                                                                        Ft                                                                   8i
       e"lF r ai                                      tr-o
                                                      'a<>OFi3
                                                                                        ss              dc^i.
                                                                                                        il      F\-$                N4
     q S E.e.E-o i                            s       *r.sc
                                                               g?F.
                                                                                                                                                             rrio              15<
     =                                                o (! S*
                                                                                        oad
                                                                                        'o               FE            &                                    i?o                >e
                                              s'       i         A-'
                                                               5 t'qt'                  ,^H)
                                                                                                                                                                               e           l)
     i I a s as+
    v9fr-+J                                            ^
                                                               h
                                                                      !r    tr
                                                                                        (Aa              gH€
                                                                                                         H      J
                                                                                                                                   ,^Q                       )^ v)            E=id    ^
     :;-.=-F                                           (h-4
                                                       =o                               lnA              A;5           -           EUd                       .D Q.             3PB
                                              s        ;J                                                6- !',        ?D
                                                                                                                                   v!]                       5(D
                                                       =9t-d-         :"D               <g               5.-O                                                oFt               NeoG(D
    gE"Ha*€s                                           6'=(D                i'          z-                                                 (D                (D+              -*=
                                                                                                         A+g.                              Ft
                                                       - d ryo                                           v                                                                     t.rAQ
                                                                                        o<               t-t + rz                          !0                do
    =c^YC)-c)
    p-o9jd<rjo
    5     a    . P-       ::)-l                                                         ca+                                                                  a$C               31=
                                                       Fs.€i                            g5              E rg                               a-                                  .CD+
                                                       (DSoO                                             v.r-                                                6(D                      4-
                   3q"sE                      V)       <i.=o                                                                               (D               '<  oa
    :;t                                                d        ::                      9R               'td           -                                                      ^5^
                                              t!       (D(/]soi:                        'Ft              3€8                                                 o&                ffiq        E
                                              \          =.<
                                                       5S@:i                                             PJl                               a
                                                                                                                                           >:                (D    c)          ?3<
                                                       OciaB                                                           91                                                      7(D         .)
    *s€:rF3                                   \                                         -oQ
                                                                                        \                =iD                               g                       (t)
                                              a       :?FA
                                                      xCDHpp                            U+               F.H
                                                                                                         3*3           -
                                                                                                                                           F.l
                                                                                                                                                             -                 B>g
    "aIeFeFB'                                 V)                                        or               :tH           in                                                      nP          s2.
                                              G        U s: E:!l                                                                                                               CDXo.
                                              (:       ^HYg.
                                                                                        oo(D:Ji
                                                                                                                                                                                                 Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 12 of 22 Page ID #:12




                                                       ::
                                                       r9^F
                                                            Jl o i7)                    a-\                                                6'
                                                                                                                                           cn                t00               ()
                                                                                                                                                                               +-E l.ao
                                              s        6^F,                             (J -r
                                                       o \: -.(D                                         lEE
                                                                                                        )i)                                o                 L-l F             VF'
                                                       a-L5      0-                                      (DcDCt                            fn                                  5
                                                                                                                                                                                      =0q
          F33rE€ 5gF
          HA*'FEE
          N st !D
              F
                                   ioq
                                   o !a<
                  +   !D     ql"     I
          -
                      '=br
                         =

     o    3H**rge&E                                                                      qrAtif(/D
                                           d5a                                           old         c, $
          gis*?s*re                                                                              at
                                           oo
     3
                                                          ggEBo IOlrt<                   A:
                                                                                         =fd A P
     o    d65."8+U3o                                      +9                       t<    9E (,)'>3
                                           I gt '-t          ='$.t
                                                           F-s                     lo    $t ;-.:.         ^
          FF:6rsHgi                                  x.        95                        ?)!0(D9
                                                                                         +re
     6                                     &-              H           rtr,        la    (Db
                                           -aC)            5E 5                    l(D
          3*14 sESgA                       geE-            ^r!ffr
                                                                                   I.)
                                                                                   la    E.e            +
     Iz                                                                                  o .)        q6
                                                                                                     =
     go                                    #   Scl:i
                                               ;..D        Ag    "H E              lo    it(D        d+
                                           =               .-"iD (D <              l5    IE 6'o
     {                                     iuFz:           -'5-!9+            $)            bi:ro
          ;lArBc#i                                                                 lp"   'E
                                                                                          -oo-
                                                           X-.i:-:                 ls     P h- o'<
                                           F6ig                                    IF     d-d - o
                                                                                   IO
          g+s  i + ?;3 r                   sE
                                           5r'i+
                                                           g: e*                   l\)    o-€oc'l
                                                           ?'o- F 9-               lo     a'=E
          T1E [?*si=                       sBS             (D        a'o- 6              'O  ()
                                           5'.SD           V-LM
                                                                                   IU
                                                                                   LJ
          3e-; s;s eSA                               d     ^o-l
                                                           *JLVY
                                                                                          o 5$ da =>.tid
                                                                                          s,
          3f=Es??il+                                       ijla)       P      rD             ^.0Q
                                                                                         t0g(D-
                                           0a Y.-                                  E     :-6p             <
ul                                                                                           H4+
                                                                                              b(yg
          gE IF 3 E f                                           r             i               P9!
                                                              s
                                                           te'€                               coP
                          " - N9i
          g+q                                               -?oo:p
                                                                ='B'                          Oar
                      $*g*ie               *o r            3l o:a                             o-a'5 (D
                                                                                              _.ti
                             i€ g $.       EhQi+
                                                           6 tr5 a                            5 O.o
                                                                                              o-
          E5s5=
                                                           rrx':l€
                                                           dvts.F.                            o
                                           3'o
                                           tD 5t'          !D=CJ5                             ut-.i'k ='
     o    EtSsEsgeg                        qRa             5-oE@5                            6'o     -l
                                                           :kil                              Soit
     Fg
                                           5'q 5           S+s I                             a=-v)
                                                           +=J.q)                            Qs:o
          5c = 6 F f e ,i;                 (,
     a    Eifi'EgarE=                      "' :=i:bd       x^(D+d i'0                        s ;)='(Dt-)
                                               63                                             -
                                                                                              ^tD;
                                                                                              QrrtO
                                                                                              D9
     CD
          $I'ggd';€g*                          v)a         re:3                               a
     z                                         dg          E e€ S                             C
                                                                                              HO'iJ
                                                                                                   €?
                                               (/);i
                                                           =srHCD                            6&           !D
          E+ssrat*s                            i\i   0q                                       +CD         i-
     (,                                        5O          gi s'H'            *
     6                                                                                        9'o         X
                                               8e          oX   zE                            Fl
     5
          '-g n A                              J2 id
             a    *; f 3                             DO
                                                           o o-'o                             o
            g8TfrHGHP.                               U)    5e          Fi:    =              oa
                                                                                             i+9
                                                                                                 o '=
                                               F'                                             F      HH



                                               o-+         iry$                               -ru
                                                                                              H      qq
                                                                                                               Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 13 of 22 Page ID #:13




              ;sqilsla3
              E'gEgiSE'€
                                                                                                                                                                          V)
                                                                                                                                                                          G
                  P a                                                                                                                                                     o
                (D
    i:i@:{ilg"sg'#
           = liol (a!1
         < o         5
    H;E                                                                                                                                                                   V1
    .)'O
           3,3:*S
         f 0, l- " :i                                                                                                                                                     F]
                                                                                                                                                                          li\
    ='(Di.i*+lrlo
    *Ege'hE"g                                                     da   o-(r/1 5 5                                   FD 5d5  6c)  tl1 7=                           l0      R
                                                                  CD O Q O XO;J                                                           =5(tt9^<p   o')i   (^   lrn     o
    II         n E"* Es        e€          tl€g ls                                                        oa
                                                                                                                    t d E.d gg =>x        =o                      t<
                 4 55 r!                                          BF$+1;H      s6                                                                                         -\
                                                                                                                                                                          s
                                                                  a r'€ l-rj o 9A               aD sl                                                             t<
                                                                                                          -'   Fl                                                 lC)     s
    &F*:sg*                                                       ^.:5-OQd'i                                        frFc: [EE5:E $IE                              la      S
                                                                                                          :o                                                      IrD
                                                                                                                    ;=;wE=ie-=€:F=6;                         5    lo
                                                       i                                                  ) r!)
                                                                                                          =(D                                                =
                                                                                                          <=                                                      15.
                             r.,9 .p                                                                                          Fa!F:EE                        7    l5
                                       : r{                                                                         33g*sEf                                  5
    +i4i?€F iqFi5g l$ !.FFiSf                                                                             o-d
    E?i{s;i                          =.6                                                                  oO-       i 5 gEG -  *o.<rr-,93-                                As
                                                                                                          ecD
              g u aF B lF q:It+8s
    eg+go9d l L6-6                                                                                   sa   o                      ={                               lr
                                                                                                                                                                  IO
                   E;'9 lo ;s;38€                                                                                                                            F            (\
    d=gg*5;a   s;                               F j'   ii'   lR                                                     3+Hi      an;=93g"Hg"il                       l!..)   c'
    ol'.dE3(D3                                                                                            ii' t:                    6 > 6 9i --€ o,          o    IO
    <E;.--r.                               =.                                                                                                                             q
                                                                                                                    E 5'q .Jo ^ g +
                                                                                                                                  -
                                                                  F
                                                                  E\y-tsJ.-
                                                                            a**
                                                                           +i :                           crc E                                              g    l=
    +-qE;iFi                   €i3rir                        l$         d I !Lo-u,
                                                                                                                    3Fa" si * g * oH awi                                  .l
                                                                  JFt-*-
                                                                  -o
                                                                  o,9--.^.    l=                          JN
                                                                                                          (D=       $€E€ 1ls1: g-ig+:                                     S
5   X - Y P+r
    6O:-il"tD            N (
    ;5iTrHs FEEg€? Ii ri.rl H FF
                                  L.U)oY3Ni',                                                             o.9
                                                                                                                    .isFgiFa*EgF;-                           :
                 x€  g€ B-5       re 5 { 36^                 18                                           F5                                                 "*           l"
    H;ri5=s      SPoc  g.e -. l;- r'rh=+H g4                                                              oC)
                                                                                                          Xsr         ET
                                                       B
    eEcLl 8FH F g* : E
     tr:!< <;j =                  <trlsB+F                                    >                 \v             o                                                          ,S
                                                                                  --                                                                                      u)
     26'"i 9 = =                  X  <i'F 3r-o                                                                         *igfirIh'FTGHH
                                                                                                                          "ri"o +Fs3tsF"€ g=
                                                                                                                                9x        e
                 5a-!.<5                                                                                       o
                                                                                                                      E 3:gE   E.=   e,q sx             I                 s\
                                   '^-(v
     Fis9a$ iisgEF                g3*TsfF                                                                      +)     :sF   ':-€5ai;;=ES                                  >;
                                                                                                               U)
                                                                                                                      9': g e dY -c b =,'o't',1 I=                        \
                            +rn                                                                      E
                                                                                                                                                                          o
         s$FUg: €*-.as:Z s3 JE                                                                                                                                            (1
                                                                  5'=+G€
                                                                           9gFE€il                   a         3      AF;4eg;    *r3  F 5ir F                             s
         -rS uFo+                                                 =
                                                                  X Flic                    9   @    X                                                                    .S
                    cFFg=a                                        -JX*VJ^v
                                                                                                               tn     E { g bf      il3as I                               !
                                                                  nG ti6 ti.8- b'5                                                                                        t\
         TA€E *3 * gs eE"g
         5 * ge y i                                                                                            o
                                                                                                                               =7;:
                                                                                                                      n tgF ga 3e;3F:       g
         g   oS                '='-o Ftfo  ai X or                                                                                                      i                 i!a
                                              u) .:f,
                                                                  F F * g gE 3
         ;J=+Y--)                    r-ruv                                                                     @
                                                                                                                                            g                              S
                     ^3q           =?
                                   dtlD*i(D                                                                           iaH€    FiF*ai:Fl                                   .t\)
                                   -i'+c)C"                                                                    o
                                                                                                               F!
                                                  ()                              !ts.L('
        ESs$8e                     + =.(!                                  HF=3gi                                      s? q.T  FoH5      j   €*A             F
        i e3'i d                   E       9r I ^.*                        a3E€*e                              -
                                                                                                               o
                                   5'a'€ "F "8                             a=Eq6F'                             U)      BF=e"Eil=BaioeF
                                                                                                                                 =
        [*iF6g     =
                                                                                                                                                                                 Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 14 of 22 Page ID #:14




        b !l
          Fo
             d.;lj
               < 5
                 = 5
          S.tD CD 7D X
          o  o.aN ='ox<5
                                                                       \t
     iaFg"sgF                                                          s
     5:J          >U(D co P
                            ^                                          d.
                                                                       q4
                                  g.b'                                 \{J
     B 3€ F3
     E'5 -+ o' 6'o E                                                   \
     [*-sgH$                                                           \
                                                               la      O     o
                                                               lrn
     sE83: fi A 3q;3+qrs*=                                     t<      -\
                                                                       s     r.g
     *$ e i TH                      E                          t<      s     a
     3< > P 53 a 3[iI?qfis€g                                   lo      s
     ia O >-a                     -^@                          la            r.t
                                                               lCD           t!
                 a € [€ 5 i i r +                          a   l.)
                                                               la      a     2
     $i+i?€F                                                   lo
     qeBi.iE+?= $EggHFFF;;                                             a-    ;
     :';-aoA'$
         +id-t'^O*
                                                               lil-J         -l
           N)ca       Y - "                                                  -l
           tr.l 9. I- ii q. co                                 l=      V)
           "N(D=-r5Q-O (D A-                                   IL      o
            9g+v-1. ='o   =              le *iFa; iag          lo
           l!=7I                  F=.                          lo      0o
           :R5+4q                        E;=,FFfga:1                    G

           F:?E3g                         E ? 3 B qE 6 d   d
(,
       {:3Ts;                             aEea*!;aE                    s
                                                                       G
           3rS;59                                                      si
           vrA9-
           ?3i€$$.                                                     s
                9^P9                                                   4
           O++):OrD                       tIEFF€FFa
           3 Fnei S 3                                                  ir:
           +9J                                                         F'    o
           d6 9 ts a+6                                                 \5
           .{     V           !
                                          A19a   r*ET;                  \
                          ^                                                  f)
           *+q3 H 3 =
           e I +!1 0S                                                   o
                                                                       V
                                                                       (\    rt
           *a€ s*5                        reItI*+ii                    a     ID

                                          fSEe!sFEe                          z
           a€ Flg:                                                           (,
                                                                       >l    a
                                                                             \.J
           # iaeE T                                                          \J
                                    eL    g[EggF$iH                    F
           3E    e€ H
           ;F.,: lo (D 5 qf
                .9=H4(9
           gD                 A     a
                   -ir\                                                s\o
                                                                                   Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 15 of 22 Page ID #:15




           r.iJ(rF
           s3 *:F=
           3a3dqq
     o (D < lltFl
                                                               sI
                           E^   g
     lF                                                        F:.
        "sg                                                    s
     E E's a h'A                                               V)
      -e=.Y.o'6                                                rtl
      l.JP o ()
     e
      urxSFgrt! -'1
                J   vr
                                                               \
           -r          -                                             o
     NrX          qn   6;ttQ                                   \
                                                         IO
     g;?",6                                              IE    a
                                                                     FE
                                [                        t<    -\
     IP :t?, iJ o                    eIgFH $?g+g         t<    s     tl
        6'E 6'E S.                                       lo    S
     c955=o.                                                         r.t
                                                         la    s     (D
     gFfagH rEa€isi;ig                                   l(D
                                                         lo
                                                         l-          zo
     niSo€E^.                                            lo
     v:='3srii+ E a i€ F 3 i 3 *
                                                         t- F        5
                                                            S        5
                                                         ls"
     :$H;qr                                              l-
                                                         l+    w
     EsEF;+     1i:+ri+pg                                lo
                                                         lo\   \:
     eg.?Y F=:  R': F;-X f   !l<                         IO
                                                 =             0e
     ++5
     cri o
           +53
           (D I'!o
Ol
                                                               af!
     1*r1"s                     3     igsIri3i3                \5
     E'3         B'T E                                          \
     'U    ?.: F   ii'E=                                       o
                                                               V)
                                      gFs re 1f
        i gE s E
     €gi5.<5=:y                                     lF         G     t!
                                                                     s
                                      sisFf,qEaf               a
     ;*i€43                           - -.- or T,i1
                                                 !                   u,
     o 6 : -l +6
     i'l          S:ro                iEeE-1='e:
                                      q=8.86?5,i5              :4
                                -.                                   f?
     -iil(Dii5                                                 sS
     H'5 pe 6 +                       :EeeeFFiF                o\    i
                                                               IS
                                                                     o
     gAEEF3,                          r a: t q'i5ira
     H}SHEi
     SD
      ai tr !LX +
                                      eeSHFg;39                      !t
                                                                     oa
           so 3.q I o
           ax9\vH
                                                                     (!
                                                                     b'J
           eti6 - 3 sj                                               (,)
           5^.trQ*
           FtiJ,AA
           'o-t=E                     eE   aFffiEaE                  UJ
                                                                     €
                                                                           Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 16 of 22 Page ID #:16




           o o ='v='
           x
           ddh)
               o-o !l
           < o !o X<
           "863t
    E     a1 ?                   (A
          oEt                         *aif>3                   F
    o     -6                     o
                                 (D
    o
    ctt
          z{     r"-.S           Ft   ggEEi
    d     rd5       -    .'..,   o                             l3    o
    -t
    cD    €=
          A=                                                   Ir    rrJ
          rt<6
          '\Ut
                                      HssIE                    ]E
                                                               ItD
                                                                     a
                                      FOE€E                          !.t
          -o                                                         o
                                      &Fea He                  ls
                                                               lG
          o                           E   ca
                                           *Y                  l-    It
                                                                     (!
                                                               to    16
          a1                                             gs t;       tl
          o                           ;$s E                 la
          -                           P iE S                   19.   oe
                                                                     D
          s
          -U                          rFsFE                    IF    (D
                                                               I<
          b                           i I€ *              H'   lE'   o
                                                               l{    {
                                                                     Eg
                                      €#eE,               i          o
                                      9y.trll             6          {
                                                                     Fi
{                                         E
                                          (D 5.€
                                             $*i5
                                                          r          o
                                                                     F!
                                          -JUiX                      a
                                          g        -J-
                                                cl='5
                                                                     D
                                          =.6d6oa
                                          S= F g                     a
                                          v)
                                          =j o   o
                                             3.X lfi                 IE
                                          s8Fq"                      x
                                          d6i6u'
                                          x IsB'                     oe
                                                                      Fg
                                          caas Z'.                   D
                                          E,B             g          (D
                                          (Drc, €
                                                $                    o
                                                                     p
                                          9ts.H
                                          : $. lt
                                          +P)
                                                  r.4y

                                                                     CD
                                          H'x +=.'                   Fg
                                                                     Ft
                                          q !i           ls          o
                                          !D CLO€                    (D
                                                                     r.t
                                                                      all
                                          E  H [F
                                                                            Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 17 of 22 Page ID #:17




                                          J- -oa .j+
                                          E1.*+
                                          (D Fin          tD
'rl                                J
                                                                                                           5                                                  (J
      t)         N                                                                                         tt                                                 ?-     a
-     (l                                                                                                         o                    f')                     a)     J
           nlC)        o      rc c)
                              (D             :                                                                   i,                  /
           ilq                     o (o      o    g                                                              o                                            9               =
(Ic        3(D         o      3.   (D        fD   g,                                                             a                                                            a,
'r.                    o           C)             ri                                                                                 =
                                                                                                                                  .-(}                 1.- J         il
           !"9         o      6                   o                                                                               /a
                                                                                                      z1         (D                                    -4
                                                                                                                                                       Q- *v
           -o 6' (/,               6'             5                                                                       's      A- 't.<   .- 'a
                                   :l                                                                 of                          o-        2tCs-a
           sB    o                 a                                                                       5                      {tt       *^EP
           c
           ;n                                                                                                             =
                                                                                                                          )/      <13       -Y'!                                    a)
                        0l         n
                                   (D                                                                      CD             )b2               /)ur o
                                                                                                                                            "n'r.O            =
           fo          (o     C'                                                                           r\)            f)ah
           oc o O) oc                                                                                      G)    o
                                                                                                                 o,                                                           ?.
               o) (t i'                                                                                    f\)                                         t9@
           ie  l 6- o                                                                                      o o                        -     t.)        +-e
           ao. a-    g                                                                                     N                                .6
           o:i
           o. o                                                                                                                  5z   -                ?itn
                                                                                                                                                        -'tr'                            -iA
                                                                                                                                                                                         Y-
                       E                                                                                                         U          I                                            4a)
                       o           o
                                   o
                                                                                                                 :!                                    r<G                               NJ !1
           a^d          0)         f,                                                                            3                    rv
           rc3                                                                                                   o                     1    UJ
                                                                                                                                            =                                            bJ :'
      {    oo           o          o)                                                      cr         o                                &    I
                        :)
                        U)
                                   I                        qq.affiHsffiE9.;bl9            @
                                                                                                      5
                                                                                                     0,
                                                                                                                                      -/    }J         2a                                -a
      c,
           Eo$                     :r                                                           J   rg                                -7    .J                                                 a-
           -(,                     o                                                            o E o                                                  <i                                      r)
                                   p.                                                    g (D         !D
                                                                                                                                      J                ::.]c' o
           o3                                               1l3===='€               $qE    o c
                                                                                           @  o
           X6                      o)                       !aoAJr-{ofiif,-:li'ao                                                     -\.              'r.c
           (Di                                                                          € l o I                                                                                                x-                r--
           ocl
           -f                                                                                   (O @ 0)                                                                                        y'
           ()o)                    :'                       *.sB:i*#f{fSsae
                                                            ljI5o-9d:.torE6             I oa                                          P                .-t I
                                   (O                                                           1t 'l                                 z                (,rJ                                                      a-
           o:t
           :) o^                   o.                                                                                                 \J
                                                               *r b-ur?::1 ?(o =* _ 3 g o €
           rE                      o                                                                  o-                                                      v)
                                   D                                                    3 o   o            CN
           5 -'"                   !)                                                      TD
           Op                      e
                                                               :tflq3i xr3.'9
                                                              E-g   HHFF          q-e
                                                                                  3 3-a
                                                                                                C) o)
                                                                                                      {    (,J                                                ft
                                                                                                                                                                                                     :a
                                       3                                                   6'                                                                                                        *-          (-.
                                                                                                                                                                                                                 -,
           !rd                                                                                                                        7                       rD                                             -
           _o_                     o                                                       @                                                                                                         -'C         -(:
                                                                                                                                                                                                     J
                                                                                                o o lhT                               7                              -
           lc                                                                                   q                                                                                              c-\
                                                                                                                                                                                               =         L
           (!O                                                                                        (D                              '>
                                                                                           OJ
                                                                                                o                                                             C;                                     C) -,        '.
           or0                      <c                                                                                                -/
                                   (o
                                                              :gietF {Fir+ o                                                                                                                         ^=-
                                                                                                                                      *t                             (}
           r,ot                    !)                  s      aIess3 FgEsa                 a
                                                                                                      -g oc           \                                       in                               a
            Ho-                        q                                                                                                                      c      't   G
                                                                                                                                                                                                     9 c!
                                                                                           o_
                                                                                           o P o o                    {
            6-
           (o5                     (O
                                       l               A                                        )     (t   o_                                                 o
                                                                                                J                                                             a F
            o ii-                      :                      i*Eg      aE €i$iH                o                                                                                                    -lJ/\
                                                                                                                                                                                                     3 '- -.'
            rf)                        6-                     or:a(D o- r ^ Y o J   ci          (D    f oN)                                                                                                      y-'
            $o                     (O                  ?2                                  7                                                                  + nn   rD                              t.J r*j
            O=                         g                      segp:9         ;E_93         0l a (o                                                                                                   "-l-C
            xol
            gr3                                                                                          (,
                                                                                                         --{ z
            ;9                                                Q.K=      {    q * eg        3 st, =
                                                                                           ct
                                                                                                                                                                                                     i:r:"
                                                                                                                                                                                                     ,--,1
                                                                                           o    B)
                        c(t
                                                                                                                                                                                                     l-J:-       +
            o),                                                                                          ro oo
            B!          J
                                   Ee (]tr                                                 o-th o          (D                                                                                                    '.^',
                 b;                                                                             f                                                                                                    t.J 5
            a                                     o
                                                                    =.! g1$S                                     o
                        c              gF                                                  o o
                                                                                             o o                 o                                                                                       'i      Nr
                        N                         o                                                              Cb
            "6qt3       cN             20         t
                                                              igsila
                                                              d!.8ttst RHoq                o
                                                                                           x    :
                                                                                                o-         P     o                                                                                                 t
                                       h!         o                                        -.                    I
                                                                                          (c          o {.       q)
                 o                     (D                     frf;s$rF gaqg                     o o-
                                       0                                                   6'      :. o):t o=
                                                                                                                 :                                                            CD                                 t\)
                                                                                           :t   :) o                                                                          :..        U,
                 7                     3
                                       o                      tg3s3 q $iga                      o.    €
                 o                                U,
                                                                                           3 o €
                                                                                           o   0,                                                                             =.         !.
                 o-                    g.         gr                                                  x =o                                                                               0c
                 o                                                                              J                                                                                              <r,
                 9.                E              tr                                       o o                                                                                           7
                 ao
                        c
                        ro                        o                                                        l                                                                             !     ^..
                                       93                     F*;i;i                       O)                             (?
                                                                                                                                                  n
                                                                                                                                                  c)
                 J      o              6'c0                   a-6eJbE aei€
                                                                      f{[S                 f      o o
                                                                                                ool                                                                           :i3
                 o) f                  AD)
                 o
                                                                                           o, =. o o
                                                                                               o                                                                              r)         ?'v
                                       :'                                                  o o { o                        ]1t
                 a                                            geiE E *3:*                  :f,
                                                                                           o o
                                                                                                 o o
                 (D                    (D                                                                                                                                                   o
                 .0                                           6 -:i  nO=Fg                 ['o o Eo                                                                                        'o
                                   €                                                                9.                                                                                         a:
                 E                     O)                                                  o o) o) q)
                 6
                 o.                    T.                                    aAst          o  a.      (D   6'
                 'tt                :)                        CJ-::          O-:aOJ        o               l
                                   (0
                 ot
                                       6
                                       !-
                                                              iei
                                                              2
                                                              *?@
                                                              dio
                                                                    A
                                                                   ooCa
                                                                             -
                                                                                Y 3 (D
                                                                             o(ci   f,
                                                                                           o {O
                                                                                           o. f
                                                                                           o    o :r
                                                                                                           o
                  ='
                                                                                                                                                                                                                         Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 18 of 22 Page ID #:18




                 (o                    l.)                    3"1  I qE€                   m fJ 6. J
                                                                                           )       o                                                                 r
                 6'                                                                        o f 9. o    5                                                             c)
                                                                                             <D   C                                                                  c,
                                       .)                                                  o
                                   .a                         H3d                          o u, o 9.
                                       c                      q"eo AF'E
                                                                   q q                     3 o o  o.                                                                 o
                                       o                                                   o    c (D
                                       gt-                                   :t            l J :t                                                                    ft
                                                                             o               o
                                                                                 i   '-r-q                        q*                        1i
                                       I                                         t
                                       I                                    tl
                                       t
                                       I                                         t

                                           I
                                                                            v;   I
                                           I                                     i
      ff                                                                         I
                                                                                 I
                                                                                 I
      ff                                                                         i
                                                                                                                                tt
                                           I                                                    i
                                           1
7     if
      l.   .'   :,.
                              -/
                              ..>.                                                              I           z
o                             L)                                                                    i
                                                                                                    I

                                                                                                        I
5                                                                                                           J-
5                             (r)
                                                                                                        a
           l
           \1.                                                                                              -J
                                                                                                            '.4
a*                            a-

O


                                                                                     :.]J {!l.i
                                                                                                                                                        r:_


                                                                                                                          ttf.c
                                                                                                                       r-?.il
                                                                                                                         ^ffff.1i



                                                          t                  '.
                                                                                                                                     j,;.
                                                                                                                                                                     '-
                                                                        I    9:                                                                          .,
                                                                        I
                                                                                                                                                  rf
                                                                                                                                     t;                  t
                                               I                                                                                                 r..{:
                                           ,i                                                                                                                l
                                                                                                                                                    i
                                      i.
                                      tpa II                        l                                                                                            :
                                     l#s
                                     rIrilA,
                                     {*s Jh
t>'                                   'r'JY
                              O                    'tll
                      ,t
                                                                                                                                                         t.
5                             F                                                                             J>
                       t'.i   ,s                                                                    I
5                                                                                        r.l.               co                                           I
l\)                                                                                                         i
L{                            L                                                                                                                          !
,a
o                             L]
                                                                                                                                                         t
                                                                                                                                                         t
                                                                                                                                                         l
                                                              '-t
                                                                                                                                                         )
                                                                                                                                                                          Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 19 of 22 Page ID #:19
Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 20 of 22 Page ID #:20




                                i

                                    ,r
          '!:




                            i
                        .
      t_


                        c
       3
       o

                   .-
                .-,l
                5




                                                              ,-
                                                       \-t
                                                  o
                                                  7

                                                       A
                                                       5

                                                               !
                                                                   o
                                                        t\,

                                                                   =
                                                         o
                   A
                    i
                   ',:
                                              'iti   *11,

                  'r,
                         *l
7                  't    7(
                         tT,
                                   z
o                        U
 5
                         I
                         Cfl   b   5
 s                       UJ        h..)
 (rr
L:-.                               aa
€
oa                       o         o

                                          :

       .d.
             *t
              '*




                         ()
                         c)
                         O
                         (JJ

                         tn
                         t.J
                          t
                         (}J
                         tt
                         -lI
                         .A
                         rn
                         -lI
                         \o
                         Ot
                         >I
                         5
                         \o
                         U

                         (-)
                         F
                         o.
                                                            Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 21 of 22 Page ID #:21




                         b.)
                         Lar
                         d-.
                         (D
                         Uq
o        o
         I        o'                                                                       j>>                     r :v             T
S                                                                                                                  :Jlo
o
o
    s    o        s               (t             (,/,                      a               ta        ^3                 i'A         o     J      :3
         z                        m              m                                             fe
         o                        v                      ?                                                3        l!               5'
             ;
             rn                   .)             C)
                                                 =       a)        o       c)                             \e--
    \T                 I     I    I    I             I   I    I        I    I               ?             4                                      n:
                                                                                                                                                 i5
             m                                                     o c
                                                                                                                   -43 '5
    c                            :i    5J
                                                         <) o      <tr                     (..
             o         1 .',      a                         0                                                           '!c         o
                                                                                                                                                 :*
                                 o     O         .       A  O      <)      e     :
                                                                                                          l--<)                                                          a1          c)
                       6  I 6 ,o                         lr P                                                             6                                              oF
                       t> A b    o ?O                    ?, o              ::>
                                                                                               .a-        v f           lc                                                           o
             o            N o O)                                   o             I                                                  o            >:- \
                       a o O a) a)  O                    <) O      2 o                          </                      i:                                               =q          o
                                                                                                                                                                                     o
                                 N                                               I                                                               :4 n
                       !     '9   'o             !          @      7                                                    ,3
             xz
             o         a                                 a c       o             l<            1-
                                                                                                          i{e                                    f'-                     mo rtI      {
                                  o q o6' Do
                                                                   I
                                                                      2.             o
                                                                                                                          o (}      P                                           <t
             €         g                                 cf   3'
                                                              G            (D
                                                                                                          Y              :                                                =D
             r         = 7.       =. g o o f
             m         o     o o o            <          6                                                              i!          \F)
                               G            o            o
                             o =                         J
                                                                   ;6 -                                                                          :i+
                                                                                                                                                                          9> <to o
             I                              3 s                    <9                                                                                                    _O          .lt
             o         c c             c                      t:    :                o                                   :                                                    =.
                                                                                                                                                                              !
             an        @     6    (D   o    co   1' do             @
                                                 I                 T                                                                                                      3P =.\ a
                                            6    o           €     6       €                         c)            a                F                                     €P
                                            a    f,      5         o                                      g        o                                                                 o
                       c) c) c)        n         G                 s. c                   €.\'                                                   -:'            'l        {c,
                             n    N    N
                                                         o 5n                                                                                    =:                       aab        c
                       F.{   N    o    o                 -0 6o     a       o
                                                                                                          :*r. o                                 =f--                     a
                          o o     f                                        '5
                                                                           3                                   r                                 3:->                           5--- {
                       o .:            o                 e                                {                        o          +                  1      i-jj,
                       (D o                                                                               -{1                                                                        -
                                                         = s                              ,
                                                                                          5'              gr\                 rb    &
                                                         o o
                                                              J                                                    o                          3 Fl                                \tm
                                                                                                          /'^      {t                            ii             r
                                                                                          c\               5                                                                  , \- rtF
                             (A                                                                                                                                          .i*:\-*- 3
                                                                                                           ::
                                                                                     'n                      --<                              ] ::-
                                                                                                                                                .-r                  I
                                                                                                                                                                         n1l3':9
                                                                                                           _)                 -.J               : :'.\.---      --       :i\-' -,r -{
                                                                                                                                                                         '    -''*   ,i',t
                                                                                          c
                                                                                                                                                                              \
                                                                                                                                                                                         )\
                                                                                                                                                                                              Case 2:22-cv-04361 Document 1 Filed 06/26/22 Page 22 of 22 Page ID #:22
